    Case 1:19-cr-10080-LTS Document 2730-1 Filed 08/28/23 Page 1 of 9




                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA           )
                                   )
          v.                       )   Criminal No.: 19-10080-LTS
                                   )
JOHN WILSON,                       )
                                   )
                                   )
                Defendant          )




 GOVERNMENT’S REPLY TO DEFENDANT’S SENTENCING MEMORANDUM
       Case 1:19-cr-10080-LTS Document 2730-1 Filed 08/28/23 Page 2 of 9




       Among the more than 50 defendants convicted as part of the Varsity Blues prosecution

were nearly two dozen parents who, like John Wilson, participated in the “side door” aspect of the

scheme. Those parents were convicted of various crimes, ranging from tax fraud, to conspiracy,

fraud, bribery, and money laundering. But they all did basically the same thing: paying money in

exchange for securing their children’s admission to selective universities as purported athletic

recruits, when they were not actually being recruited, and—in many cases—deducting those

payments from their taxes as purported charitable donations.

       At sentencing, the parents generally presented similar profiles. All loved their children.

Many had achieved great professional acclaim, amassed considerable wealth, and had long

histories of charitable giving. All experienced collateral consequences from their convictions. And

all accepted responsibility for their crimes and expressed remorse. And yet—with the exception of

a few parents who cooperated with the government’s investigation and one parent who faced dire

family medical issues—all were sentenced to meaningful terms in prison.

       And then there is Wilson. In arguing that he, unlike all the others, should avoid jail, Wilson

contends that he is “extraordinary.” Dkt. 2717 at 1. That is true—but only insofar as Wilson, alone

among the parents convicted in this case, arrives at his sentencing defiant and remorseless,

continuing to blame others for his actions and to proclaim his innocence. The government cannot,

in the space allotted, respond to all of the inaccuracies, attempts to re-argue his conviction, and

efforts to blame others in Wilson’s 63-page submission. Instead, this reply focuses on four issues:

(i) the applicable GSR; (ii) the Court’s consideration of the nature and circumstances of his offense

and conduct; (iii) his failure to accept responsibility; and (iv) comparable sentences.

       First, the applicable GSR is 15 to 21 months. The $88,546 tax loss underlying that range

was calculated by Probation at Wilson’s original sentencing, affirmed by the district court,




                                                 1
Case 1:19-cr-10080-LTS Document 2730-1 Filed 08/28/23 Page 3 of 9
       Case 1:19-cr-10080-LTS Document 2730-1 Filed 08/28/23 Page 4 of 9




       Nor does Wilson acknowledge other portions of the First Circuit’s opinion that likewise

confirm the strength of the evidence that his payments were neither legitimate business expenses

(because they had nothing to do with his business) nor legitimate charitable donations (because

they were part of a quid pro quo—regardless of whether the quid pro quo constituted an unlawful

bribe). See id. at 65 (explaining that Wilson “appears to concede that a quid pro quo vitiates any

charitable deduction even if the exchange was otherwise lawful”); id. at 69 (“[E]ven assuming that

Wilson deducted the $100,000 payment to Singer’s foundation intending that it reflect a charitable

contribution that would in turn be made to USC, the government offered strong evidence that

Wilson understood this payment to be part of an explicit quid pro quo to secure his son’s

admission, rather than a gift that might also curry some intangible amount of favor with the

university.”); id. (noting “strong evidence to the contrary” that “Wilson believed he could

legitimately deduct the entire sum as a charitable donation”); id. at 69–70 & n.44 (rejecting the

assertion that Wilson “ultimately saved only $1,425, relative to his liability had he deducted the

entire $220,000 as a charitable contribution,” and noting that “this argument echoes the position

Wilson’s counsel unsuccessfully presented to the jury during closing argument”); id. at 68 n.43

(noting that Wilson had not developed any argument as to why USC’s “practice would bear on the

deductibility of his payments”). To the extent that Wilson faults the district court and Probation

for calculating the tax loss solely on the basis that the payment was a bribe (Dkt. 2717 at 28), he

misconstrues their conclusions. See PSR at 87 (“Funneling those payments through KWF as

purported donations for which no goods or services were received, and through the Key as

purported business expenses, were both shams.”); see also Abdelaziz, 68 F.4th at 67 (rejecting

Wilson’s attempt to misconstrue the district court’s statement at sentencing that “the entire

payment was fraudulent”).




                                                3
         Case 1:19-cr-10080-LTS Document 2730-1 Filed 08/28/23 Page 5 of 9




         At bottom, the tax loss need only be proven by a preponderance of the evidence. Simple

arithmetic and the First Circuit’s conclusion that “[t]he government’s evidence on the tax count

was powerful with respect to both the charitable and business expense deductions,” id. at 71,

confirm that standard has been satisfied here. See, e.g., United States v. DeLeon, 704 F.3d 189,

194, 196 (1st Cir. 2013) (affirming tax loss under preponderance-of-the-evidence standard even

where it “may not have been perfect” and “was the kind of rough estimate with which sentencing

courts routinely deal”).

         Second, Wilson wrongly contends that “vast swaths” of the PSR should not be considered

because they “underly[] the vacated charges,” and that if the Court is inclined to consider such

facts, he “stands ready to present evidence at [] a hearing.” Dkt. 2717 at 36–42. Notably, more

than half of Wilson’s offense conduct focuses on his payments to secure his son’s fake recruitment

to USC, which underly his tax fraud conviction. See PSR ¶¶ 46–56. Likewise, the section

concerning Wilson’s payments to secure his daughters’ admission as purported athletic recruits in

sports they did not play is relevant to the nature and circumstances of the offense and the history

and characteristics of the defendant. See 18 U.S.C. § 3553(a). That is particularly so because,

during the September 2018 wiretap call, it was Wilson who demonstrated an intent to falsify his

taxes again, asking Singer if “there [was] any way to make [the payments] tax deductible as like

donations to the school.” The First Circuit “has repeatedly upheld the inclusion as relevant conduct

of acts either not charged or charged but dropped.” United States v. Garcia, 954 F.2d 12, 15 (1st

Cir. 1992) (collecting cases).1 Moreover, in “determining the sentence to impose,” the Court “may


         1
            Wilson does not even acknowledge this precedent, and instead discusses at length an unreported, out-of-
district decision never cited in this District. There, the court refused to consider certain images of child pornography
arising from vacated counts in calculating an offense-level enhancement and the defendant’s applicable GSR. In doing
so, the court recognized that it was breaking from the well-established precedent that sentencing courts may consider
“evidence a defendant successfully suppressed, evidence inadmissible at trial, . . . uncharged conduct, charged but not
yet convicted conduct, conduct underlying dismissed counts, and acquitted conduct.” United States v. Cameron, 2014
WL 5323396, at *5 (D. Me. Oct. 17, 2014) (citations omitted).


                                                           4
       Case 1:19-cr-10080-LTS Document 2730-1 Filed 08/28/23 Page 6 of 9




consider, without limitation, any information concerning the background, character and conduct

of the defendant.” U.S.S.G. § 1B1.4 & cmt. (providing hypothetical regarding dismissed charges

for second robbery). As to an evidentiary hearing, (i) there is already a month-long trial record,

which includes the defendant’s e-mails, recorded calls, financial records, tax returns, and other

evidence, (ii) there is no serious dispute that the PSR (and the First Circuit’s opinion) accurately

quotes and summarizes that evidence, (iii) the First Circuit concluded (and Wilson did not dispute)

that “the evidence was sufficient to permit a jury to convict [him] of conspiring with Singer, his

staff, and university insiders to secure his[] children’s admission,” just not the larger conspiracy

involving other parents, and (iv) Wilson has filed a 63-page memo and nearly 500 pages of exhibits

that he asks the Court to consider. See Abdelaziz, 68 F.4th at 42. More is not required.

       Third, many of Wilson’s remaining arguments simply underscore his refusal to accept

responsibility. As a prime example, Wilson spends much of his memorandum arguing that this is

a “misbegotten prosecution,” insisting that the tax case never should “have been brought,” and

asserting that he was charged only because he provided the “necessary hook for venue” over other

defendants. Dkt. 2719 at 3, 5, 50. That is demonstrably false. Indeed, Wilson was added as a

defendant to an indictment over which venue was already established. See Dkt. 1. And venue over

other defendants in this indictment was based on a variety of “hooks,” including but not limited to

dozens of phone calls and transactions with Singer when he was in Massachusetts. See, e.g., Dkt.

732 at ¶¶ 96, 121, 122, 142, 163, 164, 200, 223, 252, 274, 275, 350. There could hardly be a better

illustration of the defendant’s failure to accept responsibility than his criticism of the government

at sentencing for charging him with a crime of which he was convicted. As additional examples:

  •   Wilson insists he did not review his fraudulent tax returns because reviewing the “detailed
      written forms” was “challenging” for him. Dkt. 2717 at 14. Wilson was the valedictorian of
      his high school, graduated from RPI with honors in chemical engineering, graduated from
      Harvard Business School, and told Singer: “I don’t want to brag but I am considered one of



                                                 5
Case 1:19-cr-10080-LTS Document 2730-1 Filed 08/28/23 Page 7 of 9
         Case 1:19-cr-10080-LTS Document 2730-1 Filed 08/28/23 Page 8 of 9




athletic-recruitment aspect of the scheme in which Wilson participated. Wilson also wrongly

compares himself to the only five parents who were not sentenced to prison (id. at 56), but three

of those parents cooperated with the government’s investigation, a fourth received a government

recommendation for home confinement because he was caring for a child with a life-threatening

illness,2 and a fifth paid $15,000 (1.2% of what Wilson paid) to have his daughter’s answers

changed on a standardized test, for which he demonstrated profound remorse. At bottom, two

simple facts about comparable sentences in this case compel a meaningful term of incarceration

for Wilson. First, with the exception of one defendant contending with dire family medical issues,

each of nearly 20 non-cooperating parents convicted of offenses arising out of the athletic-

recruitment portion of the scheme was sentenced to prison, and the average sentence of defendants

who participated in that portion of the scheme more than once was just under five months. Second,

Wilson is more culpable than the average parent, and he is not similarly situated to any of the other

parents because he continues to deny responsibility, blame others, and exhibit no remorse.

                                                         ***

         There is no basis to vary from the GSR in this case. Nearly every non-cooperating parent

who engaged in conduct similar to Wilson was sentenced to prison. There is nothing exceptional

about Wilson save for his lack of remorse. A non-custodial sentence would undermine the general

deterrence achieved in this prosecution, create unwarranted sentencing disparities, and reward a

defendant who, even at sentencing, denies responsibility and blames others. Accordingly, the

Court should impose a sentence of 15 months of incarceration; 12 months of supervised release

with 250 hours of community service; a $100,000 fine; and $88,546 in restitution.



         2
           See United States v. Dameris, 20-cr-10099-RGS, Dkt. 20 at 10–14; Dkt. 27 at 13 (Sentencing Transcript:
“I think the U.S. Attorney has taken a compassionate approach to [this] case . . . this is the exceptional case that does
not merit incarceration under the circumstances.”) (emphasis added).


                                                           7
       Case 1:19-cr-10080-LTS Document 2730-1 Filed 08/28/23 Page 9 of 9




                                                     Respectfully submitted,

                                                     JOSHUA S. LEVY
                                                     Acting United States Attorney

                                                 By: /s/ Ian J. Stearns
                                                    STEPHEN E. FRANK
                                                    KRISTEN A. KEARNEY
                                                    IAN J. STEARNS
                                                    LESLIE A. WRIGHT
                                                    Assistant United States Attorneys

                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper
copies will be sent to those indicated as non-registered participants.

                                                     /s/ Ian J. Stearns
                                                     IAN J. STEARNS
                                                     Assistant United States Attorney




                                                 8
